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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



JEROME S. ADAMS,

              Plaintiff,                                  Case No. 18-10133

vs.
                                                          HONORABLE AVERN COHN
PRESIDENT DONALD TRUMP,
et al.,

           Defendants.
_____________________________/

                                ORDER
  GRANTING PLAINTIFF’S APPLICATION TO PROCEED IN FORMA PAUPERIS
                                 AND
                        DISMISSING COMPLAINT
                                 AND
 ENJOINING PLAINTIFF FROM FILING FURTHER COMPLAINTS WITHOUT LEAVE
                  OF COURT BY THE PRESIDING JUDGE

                                              I.

       Plaintiff Jerome S. Adams, proceeding pro se, has filed a complaint naming the

President of the United States and 128 others as defendants. Defendants, broadly

categorized, range from politicians and other political figures, celebrities (movie stars,

music stars and reality TV stars), large corporations and their executives, law firms,

sports figures, and several Ferrari dealerships.

       Plaintiff asks to proceed in forma pauperis. Based upon the information in the

Application to Proceed In Forma Pauperis, the Court, under 28 U.S.C. § 1915, GRANTS

plaintiff in forma pauperis status. For the reasons that follow, however, the complaint

will be dismissed for lack of subject-matter jurisdiction and for failure to state a claim
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under 28 U.S.C. § 1915(e)(2).

                                              II.

       Under § 1915 (e)(2) a Court may dismiss a complaint at any time if it determines

that the case is frivolous or malicious, that the plaintiff fails to state a claim upon which

relief may be granted, or seeks relief against a defendant who is immune from such

relief. A complaint "is frivolous where it lacks an arguable basis either in law or in fact."

Neitzke v. Williams, 490 U.S. 319, 325 (1989). Moreover, a federal court is always

“under an independent obligation to examine their own jurisdiction,” FW/PBS, Inc. v.

City of Dallas, 493 U.S. 215, 231 (1990), and a federal court may not entertain an action

over which it has no jurisdiction. See Insurance Corp. of Ireland, Ltd. v. Compagnie des

Bauxites de Guinee, 456 U.S. 694, 701 (1982). Indeed, a court is required to dismiss

an action at any time if it lacks subject-matter jurisdiction. See Fed. R. Civ. P. 12(h)(3);

See Wagenknecht v. United States, 533 F.3d 412, 416 (6th Cir.2008) (“a district court

may sua sponte dismiss an action when it lacks subject matter jurisdiction.”).

       The Court must read pro se complaints indulgently, see Haines v. Kerner, 404

U.S. 519, 520 (1972), and accept plaintiff's allegations as true, unless they are clearly

irrational or wholly incredible. Denton v. Hernandez, 504 U.S. 25, 33 (1992).

                                              III.

                                              A.

       The Court has read the complaint. It is virtually unintelligible. As best as can be

gleaned, plaintiff says that certain defendants interfered with a court case he had

against Walmart and other defendants extorted money from him that he received from

his lawsuit. He seeks over a trillion dollars in damages. Even liberally construing the

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complaint, plaintiff has failed to allege any factual grounds asserting a plausible claim

against any of the defendants. Plaintiff has also failed to allege any legal authority as to

why plaintiff may recover from any of the defendants. Overall, the Court cannot discern

a viable legal claim or the basis for federal jurisdiction. As such, the complaint must be

dismissed.

                                               B.

       The Court also notes that plaintiff filed two similar lawsuits in this district, in June

of 2017 and December of 2017. Both were dismissed as frivolous. See Adams v.

Trump, et al., 17-11925, Adams v. Wray, et al.,17-13958. In case no. 17-13958 the

Court cautioned that “Plaintiff may be enjoined from filing additional lawsuits if he

continues to abuse the judicial process.” (Doc. 4 in case no. 17-13858 at p. 2).

       The Sixth Circuit has held that district courts may properly enjoin vexatious

litigants from filing further actions against a defendant without first obtaining leave of

court. Feathers v. Chevron U.S.A., Inc., 141 F.3d 264, 269 (6th Cir. 1998); See also,

Filipas v. Lemons, 690 F.2d 1145, 1146 (6th Cir. 1987). "There is nothing unusual

about imposing prefiling restrictions in matters with a history of repetitive or vexatious

litigation." Id. at 269. A prefiling review requirement is a judicially imposed remedy

whereby a plaintiff must obtain leave of the district court to assure that the claims are

not frivolous or harassing. See e.g., Ortman v. Thomas, 99 F.3d 807, 811 (6th Cir.

1996). Often, a litigant is merely attempting to collaterally attack prior unsuccessful

suits. Filipas, 835 F.2d at 1146. In light of the Court’s warning and the fact that the

current complaint is equally frivolous, the Court will enjoin plaintiff from filing future

lawsuits.

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                                            VI.

       For the reasons stated above, even under a liberal pleading standard, the

complaint fails to set forth a viable claim against any of the defendants. The complaint

is therefore DISMISSED for lack of subject-matter jurisdiction. See Fed. R. Civ. P.

12(h)(3). It is also DISMISSED under 28 U.S.C. § 1915(e)(2). In light of this

disposition, the Court certifies that any appeal from this decision could not be taken in

good faith. See 28 U.S.C. § 1915(a)(3).

       IT IS FURTHER ORDERED that plaintiff is ENJOINED and RESTRAINED from

filing any new complaints in the United States District Court for the Eastern District of

Michigan without first seeking and obtaining leave of court by the presiding judge.1

       SO ORDERED.


                                                  S/Avern Cohn
                                                  AVERN COHN
                                                  UNITED STATES DISTRICT COURT

Dated: 1/17/2018
      Detroit, Michigan




       1
       The district judges rotate acting as the presiding judge and are usually
designated for one-week periods. The name of the presiding judge is not disclosed
before Monday at 8:30 am and can be obtained by contacting the Clerk’s office. See
E.D. Mich. LR 77.2.

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